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                       Exhibit A




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN


 TIMOTHY BOZUNG, individually and on
 behalf of all others similarly situated,         Case No. 1:22-cv-00304-HYJ-RSK

                                                  Honorable Hala Y. Jarbou
                     Plaintiff,
                                                  PLAINTIFF’S MOTION
       v.
                                                  JURY TRIAL DEMANDED
 CHRISTIANBOOK, LLC f/k/a
 CHRISTIAN BOOK DISTRIBUTORS
 CATALOG, LLC,


                     Defendant.

                  DECLARATION OF PHILIP L. FRAIETTA

I, Philip L. Fraietta, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

      1.     I am a partner at Bursor & Fisher, P.A., one of the counsel of record

for Plaintiff Timothy Bozung (“Plaintiff”) in this action. I am an attorney at law

licensed to practice in the States of Michigan, New York, New Jersey, and Illinois,

and I am a member of the bar of this Court. I have personal knowledge of the facts

set forth in this declaration and, if called as a witness, I could and would testify

competently thereto.

      2.     I make this declaration in support of Plaintiff’s unopposed motion for

preliminary approval of class action settlement filed herewith. Motion for Relief

From Judgment Pursuant to Fed. R. Civ. P. 59(e) & Fed. R. Civ. P. 60(b) and for
Case 1:22-cv-00304-HYJ-RSK     ECF No. 82-1, PageID.2018       Filed 05/04/23    Page 3
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Leave to File Second Amended Complaint Pursuant to Fed. R. Civ. P. 15(A).

      3.     On March 6, 2023, as one of the counsel for Plaintiff, I received

certain discovery material in this matter from

             .

      4.     Attached hereto as Exhibit 1 is a copy of the cover letter from

           which references the discovery material being transmitted to counsel for

Plaintiff on March 6, 2023.

      5.     This material was received mere hours before the Court’s issuance of

its March 6, 2023 Opinion and Order, ECF Nos. 51 and 52.

      I declare under penalty of perjury that the above and foregoing is true and

accurate. Executed this 3rd day of May at New York, New York.




                                                 Philip L. Fraietta




                                         2
